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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                        www.flsb.uscourts.gov
In re:
                                                       Chapter 11

IT’SUGAR FL I LLC,                                     Case No. 20-20259-RAM
IT’SUGAR LLC,                                          Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                            Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                     Case No. 20-20264-RAM
                                                       (Joint Administration pending)
            Debtors.
_______________________________/

    AMENDED1 APPLICATION OF THE DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a)
         AND 363(b) TO (I) RETAIN ALGON CAPITAL, LLC D/B/A ALGON
         GROUP TO PROVIDE THE DEBTORS A CHIEF RESTRUCTURING
          OFFICER AND CERTAIN ADDITIONAL PERSONNEL AND (II)
    DESIGNATE TROY TAYLOR AS CHIEF RESTRUCTURING OFFICER FOR THE
    DEBTORS, ON AN INTERIM BASIS, NUNC PRO TUNC TO SEPTEMBER 22, 2020

                                 (Emergency Hearing Requested)

                             Basis for Requested Emergency Hearing

           The Debtors respectfully request that the Court conduct a hearing on this Motion
           consistent with Local Rule 9013-1(F). Delay in obtaining approval of the
           proposed chief restructuring officer’s (“CRO”) retention until a final hearing is
           scheduled will cause immediate and irreparable harm to the Debtors. Mr. Taylor
           and Algon performed prebankruptcy services for the Debtors and need to
           continue their work to realize the best result for creditors. If the Court does not
           authorize Mr. Taylor and Algon to act for the Debtors on an emergency basis, the
           Debtors will suffer irreparable harm as there will be no CRO available to prepare
           and sign schedules, negotiate with landlords and take other actions to preserve
           the estate. The Debtors respectfully request that the Court waive the provisions
           of Local Rule 9075-1 (B), which requires an affirmative statement that a bona
           fide effort was made in order to resolve the issues raised in this Motion, as the
           relief requested herein is urgent in nature and does not lend itself to advance
           resolution.




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    Amended to request emergency hearing.
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       It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC,

(collectively, “It’Sugar” or “Debtors”), by and through proposed undersigned counsel, pursuant

to 11 U.S.C. 105(a) and 363(b), files this Application to (I) Retain Algon Capital LLC d/b/a Algon

Group to Provide the Debtors a Chief Restructuring Officer and Certain Additional Personnel and

(II) Designate Troy Taylor as Chief Restructuring Officer for the Debtors on an Interim Basis nunc

pro tunc to September 22, 2020 (the “Application”).

                                        JURISDICTION

       1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief requested herein are sections 105(a) and

363(b) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 6003 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                      BACKGROUND AND BUSINESS OPERATIONS

       4.      On September 22, 2020 (the “Petition Date”), each of the Debtors commenced a

voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate

their business and manage their properties as debtors in possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code.

       5.      The Debtors operate as a single business and are known throughout the industry as

It'Sugar. It'Sugar is a specialty candy retailer whose products include bulk candy, candy in giant

packaging, and licensed and novelty items. It'Sugar’s portfolio includes approximately 100 retail

locations across 28 states.




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                                     RELIEF REQUESTED

       6.        By this Application, pursuant to sections 105(a) and 363(b) of the Bankruptcy

Code, the Debtors request entry of an order, substantially in the form attached hereto as “Exhibit

C”, authorizing the Debtors to (I) retain Algon Capital, LLC d/b/a Algon Group (“Algon”) to

provide the Debtors with a Chief Restructuring Officer (“CRO”) and certain Additional Personnel

(as described below) and (II) designate Troy Taylor as the Debtors’ CRO nunc pro tunc to

September 22, 2020.

                       QUALIFICATIONS OF TROY TAYLOR AND ALGON

       7.        The Debtors have determined that obtaining the ongoing services of a CRO will

substantially enhance their ability to (a) operate and meet their administrative obligations in these

cases and (b) preserve and maximize the value of their assets. As such, prepetition, the Debtors

engaged the services of Troy Taylor (“Mr. Taylor”) of Algon to be their CRO as more fully set

forth in the Engagement Letter (defined below), and also to utilize Algon personnel as appropriate

to support the CRO and provide advisory services as needed, subject in all events to the Court

granting this Application.

       8.        Mr. Taylor and Algon have extensive experience in providing extensive experience

in providing restructuring services in and out of chapter 11 proceedings and have an excellent

reputation for the services they have rendered on behalf of debtors and creditors throughout the

United States.

       9.        Mr. Taylor is the Founder and President of Algon, and has over 30 years of

experience that combines investment banking, restructuring (both in Chapter 11 and out-of-court),

and senior management. Mr. Taylor has served as the Lead Financial Advisor, Chief Restructuring




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Officer or Chief Executive Officer in a broad range of industries including real estate/hospitality,

energy, manufacturing, and distribution. He recently led the restructuring/recapitalization of

Hyperion Bank as Vice Chairman and acted as the sole Independent Director of the Dress Barn,

Inc. in connection with the wind down of approximately 650 retail locations around the country.

Mr. Taylor is also a founding investor and the Chairman of the Audit Committee for Big Rock

Partners Acquisition Corp., a publicly traded company.

       10.     Mr. Taylor has completed various real estate restructurings/sales for high-profile

clients including The Related Group, Four Season Peninsula Papagayo Resort, One Bal Harbour

Resort, BlueGreen Vacation Corporation (“Bluegreen”), The Altman Companies, and Cabi

Downtown LLC.

       11.     Algon is a national, leading financial advisory firm. The following is a

representative list of Algon’s advisory engagements:

 The Dress Barn, Inc.                                  Served as sole independent director in
                                                        conjunction with wind-down of retail
                                                        operations
                                                       Wind-down included 650 stores and
                                                        related lease obligations
 Big Rock Partners, LLC                                Financial/Restructuring Advisor in senior
                                                        housing chapter 11
                                                       Advisor on $69 million acquisition of 500+
                                                        bed Tampa area CCRC
 Tradition/Port St. Lucie                              Advised institutional lender on 8,200-acre
                                                        master planned community
                                                       Conducted nationwide M&A process to
                                                        maximize value
                                                       Sold 3,028 acres to Mattamy Homes;
                                                        transferred 1,222 acres to the City
 BrightSource Energy, Inc.                             International solar thermal developer with
                                                        invested capital in excess of $800 million




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                                                 Appointed Vice Chairman and Board
                                                  Member at the request of the senior lender
                                                 Debt restructuring/international M&A
                                                  process
Peninsula Papagayo                               Advised on a successful operational and
                                                  debt restructuring
                                                 Increased equity value by approximately
                                                  $100 million
                                                 Conducted worldwide M&A process
                                                  resulting in the successful sale of the resort
The Related Group                                $2+ billion restructuring of senior and
                                                  mezzanine debt across 21 separate loans
                                                 Completed consensual restructuring with
                                                  40+ domestic and foreign financial
                                                  institutions
                                                 Restructured Company is once again a
                                                  major successful real estate developer
Tradition/BFC Corp.                              Diversified NYSE holding company
                                                  (NYSE: BBX)
                                                 CRO for successful restructuring on over
                                                  $370 million of subsidiary level debt
One Bal Harbour                                  CRO in confirmed Chapter 11 of
                                                  condo/hotel project with $700+ million in
                                                  assets
                                                 Managed sale process via section 363 sale
Hyperion Bank                                    As       Vice      Chairman,        led      a
                                                  management/financial restructuring
                                                 Raised $18.3 million through Rights
                                                  Offering and Common Stock Offering
Cabi Downtown, LLC                               Financial advisor on $256 million Chapter
                                                  11 Plan for major condominium project

Altman Companies                           Completed global restructuring for leading
                                            developer and operator of apartments with
                                            over $475 million of debt
Agway Liquidating Trust                    Advised $400 million trust on the
                                            disposition of 24 environmentally-tainted
                                            properties
Synovus Financial Corporation (NYSE: SNV)  Advised in divestiture of 28% equity
                                            ownership in Aerosonics Corporation
                                            (AMEX: AIM)




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BlueGreen Vacations Corporation (NYSE:  Review of strategic alternatives resulting in
BXG)                                      $29 million sale of Developer/Operator of
                                          timeshare resorts and residential parcels
Advanced Lighting Technologies, Inc.  Advised the Official Equity Committee in
(Nasdaq: ADLT)                            obtaining substantial recovery in $175
                                          million Chapter 11
Speizman Industries, Inc. (SPZN.OB)      Advised the Special Committee to the
                                          Board of Directors in connection with a
                                          chapter 11 petition
Mego Financial (Nasdaq: MEGO)            Advisor to Chapter 11/7 trustee for $185
                                          million publicly-traded timeshare company
                                         Developed strategy and negotiated
                                          substantial recovery for DIP lender
Village Homes                            Restructured approximately $140 million
                                          of senior debt
Diversified Family Investment Vehicle    Advised on two CMBS debt restructurings
                                          of retail and office assets
                                         Successfully negotiated agreements with
                                          CW Capital and C3
Investor group                           Advised investor group in purchase of PCX
                                          Corp., a division of NYSE-listed
                                          Integrated Electrical Services, Inc.
Southeastern Retirement Associates, LLC  Advised an ad hoc committee of
                                          subordinated note holders in a $52.3
                                          million restructuring
NY-based hedge fund                      Advised on valuation of $600 million of
                                          subordinated debt in a publicly-traded
                                          company
Arlington Ridge, LLC                     Advisor to Debtor in Chapter 11
                                          proceedings Held CRO position

PsychSolutions Inc.                              Financial advisor in sale to Youth &
                                                  Family Centered Services, Inc., a portfolio
                                                  company of TA Associates

Adama Holdings                                   Advised major hedge fund investors on
                                                  $500 million eastern European distressed
                                                  investment
SolarReserve, Inc.                               Advising senior lender on maximizing
                                                  recovery of $90 million loan
                                                 Overseeing liquidation of assets located in
                                                  US, South Africa, Chile and Australia




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    SELAF Waterfall Holding Company                    Advised a $175 million private equity firm
                                                        on strategic alternatives for portfolio
                                                        investment
    Harmony Information Systems, Inc.                  Advised JMI Equity ($1.3+ billion) on the
                                                        recapitalization of a portfolio company


         12.    Further, as a result of prepetition work performed on behalf of the Debtors, Mr.

Taylor and Algon have acquired knowledge of the Debtors and their business and is familiar with

the Debtors’ financial affairs, operations and related matters.

         13.    The Debtors believe that Taylor and Algon are well qualified and able to advise

them in a cost-effective, efficient and timely manner. The Debtors have been advised by Taylor

and Algon that they will endeavor to coordinate with the other professionals retained in these cases

to eliminate unnecessary duplication of work. Therefore, the Debtors submit that the retention and

employment of Taylor as its CRO, with the support of the professionals provided by Algon, is in

the best interests of the estate.

                                    SERVICES TO BE PROVIDED

         14.    Subject to approval of the Court, the Debtors propose to retain Algon to provide

Mr. Taylor as CRO and to provide additional employees of it and its professional service provider

affiliates (“Additional Personnel,” collectively with the CRO, the “Engagement Personnel”) on

the terms and conditions set forth in the engagement letter, dated September 22, 2020, attached

hereto as “Exhibit A.” (the “Engagement Letter”)2, except as otherwise explicitly set forth herein




2
 The summaries of the Engagement Letter contained in this Application are provided for purposes
of convenience only. In the event of any inconsistency between the summaries contained herein
and the terms and provisions of the Engagement Letter, the terms of the Engagement Letter shall
control unless otherwise set forth herein. Capitalized terms used in such summaries but not
otherwise defined herein shall have the meanings set forth in the Engagement Letter.


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or in any order granting this Application.

       15.     Among other things, the scope of services of the Engagement Personnel will

include, but not be limited to, the following:

       Subject to Board of Managers oversight, the CRO shall:

                  i. Perform a financial review of the Client, including but not limited to
                     a review and assessment of financial information that has been, and
                     that will be, provided by the Client to its creditors, including without
                     limitation its short and long-term projected cash flows, and shall assist
                     the Client in developing, refining and implementing its restructuring
                     plans.
                 ii. Negotiate with the Client’s senior lender and DIP lender as required.
                iii. Direct negotiations with landlords and other key constituents
                     regarding a restructuring of the Client.
                iv. Lead negotiations with the Official Creditors Committee.
                 v. Serve as the Client’s representative for all purposes in connection with
                    any proceedings in the Bankruptcy Court.
                vi. Have the authority to manage and execute (i) leases, contracts,
                    settlements, third-party professionals, sale of the Asset, purchase of
                    property or financing/re-financing of debt, and (ii) negotiate with
                    Parties in Interest, other constituents and interested parties to develop
                    and effectuate the Approved Plan(s), and in executing such Approved
                    Plan(s).
                vii. Engage attorneys, accountants, appraisers and other consultants and
                     third-party professionals, at Client’s expense to maximize value of the
                     estate. Algon acknowledges that all such engagements are subject to
                     approval of the Bankruptcy Court.
               viii. Assist in the preparation of the monthly operating reports required by
                     the Bankruptcy Court and in otherwise complying with the reporting
                     and information requirements imposed by the Office of the United
                     States Trustee.
                ix. Cause the Client to take any other action which the CRO, in good
                    faith, determines to be necessary, prudent, or appropriate under the
                    circumstances.
                 x. Assist the Client in developing various strategic alternatives, and in
                    conjunction with legal counsel, a plan of reorganization (the “Plan”).




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                 xi. Lead in the execution of the Plan.


        16.     These services are necessary to enable the Debtors to maximize the value of their

estates and successfully complete their restructuring.

                               ALGON’S DISINTERESTEDNESS

        17.     To the best of the Debtors’ knowledge, information and belief, other than as set

forth in the Declaration of Troy Taylor (the “Taylor Declaration”), attached hereto as “Exhibit B”,

Algon: (i) has no connection with the Debtors, their principals, their creditors, other parties in

interest, or the attorneys or other professionals of any of the foregoing, or the United States Trustee

or any person employed in the Office of the United States Trustee; and (ii) does not hold any interest

adverse to the Debtors’ estates.

        18.     As disclosed in the Taylor Declaration:

                a.      Mr. Taylor served as CRO for Core Communities Inc. with respect to an

         out-of-court debt restructuring. Core Communities was a subsidiary of Woodbridge

         Holdings Corporation, an affiliate of BBX Capital Corp., which in turn is an affiliate of

         the Debtors. The representation ceased in 2014. The Debtors do not believe that this

         relationship affects Mr. Taylor’s or Algon’s disinterestedness in these cases.

                b.      Algon served as financial advisor to Bluegreen Vacation Corporation

        (“Bluegreen”) with respect to the sale of a division of Bluegreen. The representation

        ceased in 2014. Bluegreen is a public company traded on the New York Stock Exchange.

        BBX is majority shareholder of Bluegreen. The Debtors refer to the Form 10-Q filed by

        BBX for the quarter ending June 30, 2020 for the details of a proposed spinoff transaction,




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       previously announced in June 2020 related by BBX and Bluegreen. The Debtors do not

       believe that this relationship affects Algon’s disinterestedness in these cases.

                c.     Algon served as financial advisor to the Altman Companies, an

       independently owned apartment developer for debt restructuring. The Altman Companies

       are currently 50% owned by BBX Capital Real Estate, an affiliate of the Debtors. The

       representation ceased more than 5 years prior to the Petition Date. The Debtors do not

       believe that this relationship affects Algon’s disinterestedness in these cases.

                d.     Mr. Taylor is currently a passive investor, and has been a passive investor

       in numerous partnerships sponsored by Label & Co., a niche real estate developer/home

       builder. An affiliate of the Debtors, BBX Sky Cove LLC, a wholly owned subsidiary of

       BBX Capital Real Estate, is likewise a passive investor in many of the same projects. The

       Debtors do not believe that this relationship affects Algon’s disinterestedness in these

       cases.

       19.      In 2014, Mark Meland, Esq. and Meland Budwick, P.A. represented Mr. Taylor in

connection with an acquisition of a condominium unit in Miami Beach, Florida and ancillary real

estate related services. That representation has concluded and that matter was unrelated to the

Debtors.

       20.      In the past Meland Budwick, P.A. has represented parties in interest in matters in

which Algon Capital LLC and/or Troy Taylor have served as a financial advisor and/or chief

restructuring officer. None of those matters were related to the Debtors.

       21.      Over the last 10 years Mr. Taylor has discussed various business issues regarding

real estate with senior BBX executives. These discussions included investment opportunities,




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restructuring of debt and/or leases and general real estate market conditions. These were all

informal conversations and Mr. Taylor was not compensated.

        22.     Although the Debtors submit that the retention of Algon is not governed by section

327 of the Bankruptcy Code, the Debtors attach the Taylor Declaration, which discloses, among

other things, any relationship that Algon, Taylor or any individual member of the Additional

Personnel has with the Debtors, their significant creditors, or other significant parties in interest

known to Algon. Based upon the Taylor Declaration, the Debtors submit that Algon is a

“disinterested person” as that term is defined by section 101(14) of the Bankruptcy Code.

        23.     In addition, as set forth in the Taylor Declaration, if any new material facts or

relationships are discovered or arise, Algon will provide the Court with a supplemental declaration.

                                    TERMS OF RETENTION

        A. Compensation

        24.     In accordance with the terms of the Engagement Letter, Algon will be compensated

in pertinent part as follows:

                A) Expense Reimbursement. On a monthly basis Algon will submit
                   invoices for all reasonable out of pocket expenses incurred in connection
                   with this engagement. Such expenses will consist primarily of, but are
                   not limited to lodging, travel (coach class), delivery and data services as
                   well as communications expenses.
                B) CRO FEE. The Client shall pay Algon a fixed fee of $90,000 per month
                   (prorated for partial months) for Troy Taylor’s services as CRO through
                   December 2020 and $60,000 per month thereafter.
                C) Additional Personnel Fee. The client shall pay Algon a fee for providing
                   Additional Personnel based on the following hourly rates:
                       Paul Rubin – Managing Director                       $625 per hour
                       Other professionals                                  Standard Rates




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              D) Algon Fee Cap. Algon’s total monthly fees shall not exceed $150,000
                 per month through December 2020. Subsequent months shall not exceed
                 $100,000 per month.
               E) Retainer. Client shall pay Algon an initial retainer of $125,000.
              F) Time Records. The CRO and the Additional Personnel shall keep
                 contemporaneous time records of their respective time and expenses.
                 Time records shall contain descriptive narratives of the tasks performed.
                 To the extent that the Additional Personnel are providing services at an
                 hourly rate, the time entries shall identify the time spent completing each
                 task in 1/10 hour increments and the corresponding charge (time
                 multiplied and hourly rate) per such task. To the extent that the CRO
                 and any Additional Personnel are providing services at a “flat” rate, the
                 time entries shall be kept in hourly increments. The CRO will prepare
                 reports of compensation earned and expenses incurred on a monthly
                 basis and such monthly reports will be provided to the Client.
              G) The compensation to be paid hereunder shall not include health
                 insurance, unemployment compensation or federal tax withholding
                 employer contributions, or other common “benefits”.
              H) It is acknowledged that the Client’s payment obligations hereunder shall
                 be subject to the approval of Algon’s retention by the Bankruptcy Court.
                 The Client agrees to use reasonable efforts to obtain approval of the
                 Bankruptcy Court for this engagement and compensation and
                 reimbursement of expenses as described herein in accordance with
                 Section 363 of the United States Bankruptcy Code.
              I) Other than the amounts due by the Client to Algon under the terms of
                 this Agreement, Algon will collect no commissions, brokerage fees,
                 consulting fees or other payments related to the Asset from any party.
       B. Indemnification

       25.     As a material part of the consideration for which the Engagement Personnel have

agreed to provide the services described herein, pursuant to the Engagement Letter (including the

section titled “Indemnification,” the “Indemnification Provision”), the Debtors have agreed to

indemnify Algon and the Additional Employees to the same extent as the most favorable

indemnification it extends to its officers or directors, whether under the Client’s bylaws, its

certificate of incorporation, or otherwise, and no reduction or termination in any of the benefits




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provided under any such indemnities shall affect the benefits provided to Algon and the Additional

Employees. The CRO shall be covered as an officer under the Client’s existing director and officer

liability insurance policies. The Client shall also maintain any such insurance coverage for the

CRO for a period of not less than two years following the date of the termination of such officer’s

services hereunder.3 The rights to indemnification shall survive the termination of these chapter

11 cases or any cases into which they may be converted.

       26.     The Debtors believe the Indemnity Provision is a reasonable term and condition of

Algon’s engagement and were, along with all terms of the Engagement Letter, negotiated by the

Debtors (and other interested parties) and Algon at arm’s-length and in good faith. Algon and the

Debtors believe that the indemnity provisions are comparable to those indemnification provisions

generally obtained by crisis management firms of similar stature to Algon and for comparable

engagements, both in and out of court. The Debtors respectfully submit that the indemnification

provisions contained in the Indemnification Agreement, viewed in conjunction with the other

terms of Algon’s proposed retention, are reasonable and in the best interests of the Debtors, their

estates, and creditors in light of the fact that the Debtors’ require Algon’s services to successfully

reorganize.

                                    FEES AND REPORTING

       27.     If the Court approves the relief requested herein, Algon will be retained to provide

the Debtors with the Engagement Personnel and Taylor will be designated as the Debtors’ Chief


3
 In no event shall Algon and the Additional Employees be indemnified or receive contribution or
other payment under the Indemnification Provision if the Debtors, their estates, or any statutory
committee of unsecured creditors or other party, if any, assert a claim, to the extent that the Court
determines by final order that such claim arose out of fraud, willful misconduct, gross negligence,
bad faith, self-dealing or breach of fiduciary duty on the part of that or any other Indemnified
Parties.


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 Restructuring Officer pursuant to section 363 of the Bankruptcy Code. Because Algon is not being

 employed as a professional under section 327 of the Code, Algon will not be required to submit

 fee applications pursuant to sections 330 and 331 of the Bankruptcy Code. However, the fees paid

 to Algon shall be subject to a final review and approval of the Court at the conclusion of these

 Chapter 11 Cases.

         28.     Given the numerous issues which the Engagement Personnel may be required to

  address in the performance of their services, Algon’s commitment to the variable level of time

  and effort necessary to address all such issues as they arise, and the market prices for such services

  for engagements of this nature in an out-of-court context, as well as in chapter 11, the Debtors

  submit that the fee arrangements set forth in the Engagement Letter are reasonable.

                            DISPUTE RESOLUTION PROCEDURES

         29.     The Debtors and Algon have agreed, subject to the Court’s approval of this

 Application, that notwithstanding the Engagement Letter the parties submit to the jurisdiction of

 this Court for any and all actions and disputes arising under the Engagement Letter or any action

 to enforce the terms thereof.

                                   APPLICABLE AUTHORITY

         30.     The Debtors seek approval of the employment of Algon pursuant to section 363 of

the Bankruptcy Code, nunc pro tunc to the Petition Date. Section 363(b)(1) of the Bankruptcy Code

provides in relevant part that “[t]he trustee, after notice and a hearing, may use, sell, or lease, other

than in the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1). Further,

pursuant to section 105(a) of the Bankruptcy Code, the “court may issue any order, process, or




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judgment that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. §

105(a).

          31.    Under applicable case law, in this and other circuits, if a debtor’s proposed use of

its assets pursuant to section 363(b) of the Bankruptcy Code represents a reasonable business

judgment on the part of the debtor, such use should be approved. See, e.g., In re Gulf States, Steel,

Inc., 285 B.R. 497, 514 (Bankr. N.D. Ala. 2002); Stephens Indus., Inc. v. McClung, 789 F.2d 386,

390 (6th Cir. 1986); Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citing Fulton

State Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1983); Comm. of Equity Sec.

Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983) (“The rule we

adopt requires that a judge determining a § 363(b) application expressly find from the evidence

presented before him at the hearing a good business reason to grant such an application.”); In re

Delaware & Hudson R.R. Co., 124 B.R. 169, 176 (D. Del. 1991) (courts have applied the “sound

business purpose” test to evaluate motions brought pursuant to section 363(b)); Comm. of

Asbestos-Related Litigants v. Johns-Mansville Corp. (In re Johns-Mansville Corp.), 60 B.R. 612,

616 (Bankr. S.D.N.Y. 1986) (“Where the debtor articulates a reasonable basis for its business

decisions (as distinct from a decision made arbitrarily or capriciously), courts will generally not

entertain objections to the debtor’s conduct”).

          32.    The retention of Algon and its professionals is a sound exercise of the Debtors’

business judgment. Troy Taylor has extensive experience as a senior officer and as an advisor for

many troubled companies. The Debtors believe that the Engagement Personnel will provide

services that benefit the Debtors’ estates and creditors. In light of the foregoing, the Debtors




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believe that the retention of Algon is appropriate and in the best interests of the Debtors and their

estates and creditors.

       33.     The retention, including both pre- and post-petition, of interim corporate officers

and other temporary employees, therefore, is proper under section 363 of the Bankruptcy Code.

See, e.g., In re Adinath Corp, et al., Case No. 15-16885- BKC-LMI (Bankr. S.D. Fla. May 8, 2015)

(Isicoff, J.); In re SMF Energy Corporation, et al., Case No. 12-19084-BKC-RBR (Bankr. S.D.

Fla. May 21, 2012)(Ray, J.); In re Ruden McClosky PA. , Case No. 1 1-40603-BKC-RBR (Bankr.

S.D. Fla. December 5, 2011) (Ray, J.); In re Medical Staffing Network Holdings, Inc., et al., Case

No. 10-291 01-BKC-EPK (Bankr. S.D. Fla. July 22, 2010) (Kimball, J.); In re Zeiger Crane

Rental, Inc., Case No. 11-14183 (Bankr. S.D. Fla. May 24, 2011) (Kimball, J.); In re BankUnited

Fin. Corp., Case No. 09-19940 (Bankr. S.D. Fla. June 30, 2009) (Isicoff, J.); In re Pharmed Group

Holdings, Inc., Case No. 07-19187 (Bankr. S.D. Fla. Nov. 20, 2007) (Mark, J.); In re Puig, Inc.,

Case No. 07-14026 (Bankr. S.D. Fla. July 20, 2007) (Mark, J.); In re Piccadilly Cafeterias, Case

No. 03-27976 (Bankr. S.D. Fla. Oct. 31, 2003) (Ray, J.); In re AT&T Latin America Corp., Case

No. 03-13538 (Bankr. S.D. Fla. June 11, 2003) (Mark, J.); In re Lighthouse Imports, LLC, Case

No. 6:12-bk-14459 (Bankr. M.D. Fla. Dec. 14, 2012); In re Lehman Bros. Holdings, Inc., Ch. 11

Case No. 08-13555 (Bankr. S.D.N.Y. Dec. 17, 2008) [ECF. No. 2278]; In re PRC, LLC, Ch. 11

Case No. 08-10238 (Bankr. S.D.N.Y. Feb. 27, 2008) [ECF. No. 182]; In re Bally Total Fitness of

Greater N.Y., Inc., Ch. 11 Case No. 07- 12395 (Bankr. S.D.N.Y. Aug. 21, 2007) [ECF. No. 283];

In re Dana Corp., Ch. 11 Case No. 06-10354 (Bankr. S.D.N.Y. Mar. 29, 2006) [ECF. No. 740];

In re Penn Traffic Co., Ch. 11 Case No. 03-22945 (Bankr. S.D.N.Y. Aug. 1, 2003) [ECF. No.

260]; In re Acterna Corp., Case No. 03-12837 (Bankr. S.D.N.Y. July 2, 2003); In re Exide




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Technologies, Inc., Case No. 02-11125 (Bankr. D. Del. May 10, 2002); In re Kmart Corp., Case

No. 02-B02474 (Bankr. N.D. Ill. E.D. May 22, 2002); and In re WorldCom Group, Case No. 02-

13533 (Bankr. S.D.N.Y. Sept. 17, 2002).

       34.        Based upon the foregoing, the Debtors submit that the retention of Algon, and the

designation of Troy Taylor as Chief Restructuring Officer on terms set forth herein and in the

Engagement Letter, is essential, appropriate, and in the best interest of the Debtors’ estates,

creditors, and other parties in interest and should be granted in these Chapter 11 Cases.

                         NUNC PRO TUNC RELIEF IS APPROPRIATE

       35.        Pursuant to the Debtors’ request, Mr. Taylor has agreed to continue to serve as CRO

on and after the Petition Date with assurances that the Debtors would seek approval of its

employment and retention nunc pro tunc to the Petition Date so that Algon may be compensated

for its pre-Application services. The Debtors believe that no party in interest will be prejudiced by

the granting of the nunc pro tunc employment, as provided in this Application, because Mr. Taylor

and Algon have provided, and continue to provide, valuable services to the Debtors’ estates in the

interim period.

                   [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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       WHEREFORE, the Debtor respectfully requests entry of an order in the form attached

hereto as Exhibit C (i) approving this Application; (ii) authorizing the Debtors to employ Troy

Taylor and the advisory firm of Algon Group on an interim basis nunc pro tunc to September 22,

2020; and (iii) granting such other and further relief as the Court deems just and proper.

Dated: September 23, 2020
Miami, Florida
                                                      s/ Michael S. Budwick
                                                      Michael S. Budwick, Esquire
                                                      Florida Bar No. 938777
                                                      mbudwick@melandbudwick.com
                                                      Joshua W. Dobin, Esquire
                                                      Florida Bar No. 93696
                                                      jdobin@melandbudwick.com
                                                      James C. Moon, Esquire
                                                      Florida Bar No. 938211
                                                      jmoon@melandbudwick.com
                                                      MELAND BUDWICK, P.A.
                                                      3200 Southeast Financial Center
                                                      200 South Biscayne Boulevard
                                                      Miami, Florida 33131
                                                      Telephone: (305) 358-6363
                                                      Telecopy: (305) 358-1221
                                                      Proposed Attorneys for
                                                      Debtors in Possession




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                                     AAGONGROUP
                           Financial   Advisors     for Complex      Situations




 September 21, 2020




 Board of Managers
 IT'SUGAR, LLC
 4960 CONFERENCE WAY NORTH, SUITE 100
 BOCA RATON, FL 33431




 Gentlemen:


 This letter confirms our understanding and agreement ("Agreement") of the basis upon
 which Algon Capital, LLC d/b/a Algon Group ("Algon") is being engaged by IT'SUGAR
 LLC; IT'SUGAR ATLANTIC CITY LLC; IT'SUGAR FLGC LLC; and IT'SUGAR FL I LLC
 (collectively, the "Company" or the "Client"), in their capacities as debtors and debtors-
 in-possession in their (to be filed) Chapter 11 cases, (collectively, the "Bankruptcy
 Cases"), in the United States Bankruptcy Court for the Southern District of Florida (the
 "Bankruptcy Court"), including the description of services to be performed and the
 basis of compensation for those services.



   I.    Description of Services

           a.    Officers. In connection with this engagement, Algon shall make available to
                 the Client:

                      i.   Troy T. Taylor, president of Algon, to serve as Chief Restructuring
                           Officer (the "CRO").

                     ii.   Mr. Taylor will report to the Client's Board of Managers.

           b.    Additional Personnel.

                      i.   Upon    mutual     agreement,        Algon    may      provide     additional
                           professionals    who   may     be   employees,      regular   associates,   or
                           independent contractors/strategic partners of Algon, as required
                           ("Additional Personnel", and together with the CRO, collectively,
                           the "Engagement Personnel") to assist the CRO in the execution
                           of the specific duties set forth below. The Client and Algon hereby
                           agree that Paul F. Rubin shall be part of the Additional Personnel.

           c.    Algon acknowledges that the day-to-day operation of the Client is currently
                 performed by the Client's Senior Management. As such, the duties of the
                 CRO and any Additional Personnel will not include or duplicate the day-to
                 day management of the Client.



Algon   is a    results     oriented    financial advisory and           investment Banking            firm

                               2457 Collins Avenue- PH2   www.algongroup.com



                                                                                              EXHIBIT A
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         d.   Duties. Subject to Board of Managers oversight, the CRO shall:

                  i.    Perform a financial review of the Client, including but not limited to a
                        review and assessment of financial information that has been, and
                        that will be, provided by the Client to its creditors, including without
                        limitation its short and long-term projected cash flows, and shall
                        assist the Client in developing, refining and implementing its
                        restructuring plans.

                  ii.   Negotiate with the Client's senior lender and DIP lender as required.

                 iii.   Direct negotiations with landlords and         other   key   constituents
                        regarding a restructuring of the Client.

                 iv.    Lead negotiations with the Official Creditors Committee.

                  v.    Serve as the Client's representative for all purposes in connection
                        with any proceedings in the Bankruptcy Court.

                 vi.    Have the authority to manage and execute (i) leases, contracts,
                        settlements, third-party professionals, sale of the Asset, purchase of
                        property or financing/re-financing of debt, and (ii) negotiate with
                        Parties in Interest, other constituents and interested parties to
                        develop and effectuate the Approved Plan(s), and in executing such
                        Approved Plan(s).

                 vii.   Engage attorneys, accountants, appraisers and other consultants
                        and third-party professionals, at Client's expense to maximize value
                        of the estate. Algon acknowledges that all such engagements are
                        subject to approval of the Bankruptcy Court.

                viii.   Assist in the preparation of the monthly operating reports required
                        by the Bankruptcy Court and in otherwise complying with the
                        reporting and information requirements imposed by the Office of the
                        United States Trustee.

                  ix.   Cause the Client to take any other action which the CRO, in good
                        faith, determines to be necessary, prudent, or appropriate under the
                        circumstances.

                   x.   Assist the Client in developing various strategic alternatives, and in
                        conjunction with legal counsel, a plan of reorganization (the "Plan").

                  xi.   Lead in the execution of the Plan.

          It is understood that the CRO will rely solely upon information supplied by the
          Client without assuming any responsibility for independent verification. The
                                                                                    the
          Client represents and warrants that any financial projections provided to
          CRO have been, or will be, prepared on bases reflecting the best currently
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          available information and reasonable judgments of the future cash flows of the
          Client,

          Projections; Reliance; Limitation of Duties. The Client understands that the
          services to be rendered by the CRO and Additional Personnel may include the
          preparation of projections and other forward-looking statements, and that
          numerous factors can affect the actual results of the Client's operations, which
          may materially and adversely differ from those projections and other forward-
          looking statements.  In addition, the CRO will be relying on information
          provided by other members of the Client's management in the preparation of
          those projections and other forward-looking statements.      Neither the CRO nor
          Algon makes any representation or guarantee that a restructuring plan can be
          formulated for the Client, that any proposal or plan selected by Algon and the
          CRO will be more successful than all other possible plans or strategic
          alternatives or, if formulated, that any proposed plan or strategic alternative will
          be accepted by any of the Client's creditors and other constituents.

          The CRO and Mr. Rubin will continue to be a member of Algon and while
          rendering services to the Client continue to work at Algon in connection with
          other unrelated matters, which will not unduly interfere with services pursuant
          to this Agreement.




 II.     Compensation for Services


        In consideration of services performed, during the term of this Agreement, the
Client agrees to compensate Algon as set forth below;

                A) Expense Reimbursement. On a monthly basis Algon will submit
                   invoices for all reasonable out of pocket expenses incurred in
                   connection with this engagement.           Such expenses will consist
                   primarily of, but  are  not  limited  to  lodging, travel (coach class),
                   delivery and data services  as well  as communicatio  ns expenses.

                B) CRO FEE. The Client shall pay Algon a fixed fee of $90,000 per
                   month (prorated for partial months) for Troy Taylor's services as CRO
                   through December 2020 and $60,000 per month thereafter.

                C) Additional Personnel Fee. The client shall pay Algon a fee for
                   providing Additional Personnel based on the following hourly rates:

                    •   Paul Rubin ~ Managing Director                        $625 per hour

                    •   Other professionals                                    Standard
                        Rates
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               D) Algon Fee Cap. Algon's total monthly fees shall not exceed $150,000
                  per month through December 2020. Subsequent months shall not
                    exceed $100,000 per month.

               E) Retainer. Client shall pay Algon an initial retainer of $125,000.

               F)   Wire Instructions.
                        Wells Fargo Bank
                       420 Montgomery Street San Francisco, CA 94104
                        ABA# 121000248
                        Beneficiary: Algon Group A/C # 2000050530421
                                                                                 keep
               G) Time Records. The CRO and the Additional Personnel shall
                                                                   time and expenses.
                  contemporaneous time records of their respective
                  Time records shall contain descriptive narrative    s  of the tasks

                    performed.   To the extent that the Additional Personnel are providing
                    services at an hourly rate, the time entries shall identify the time spent
                    completing each task in 1/10 hour increments and the corresponding
                    charge (time multiplied and hourly rate) per such task. To the extent
                                                                                             a
                    that the CRO and any Additional Personnel are providing services at
                    "flat" rate, the time entries shall be kept in hourly   incremen   ts. The
                                                                                             s
                    CRO will prepare reports of compensation earned and expense
                    incurred on a monthly basis and such monthly reports will be provided
                    to the Client.
                                                                           health
               H) The compensation to be paid hereunder shall not include
                  insurance, unemployment compensation or federal tax withholding
                  employer contributions, or other common "benefits".
                                                                                    er
               I)   It is acknowledged that the Client's payment obligations hereund
                    shall be subject to the approval of Algon's retention by the Bankruptcy
                    Court. The Client agrees to use reasonable efforts to obtain approval
                    of the Bankruptcy Court for this engagement and compensation and
                    reimbursement of expenses as described herein in accordance with
                    Section 363 of the United States Bankruptcy Code.

               J)   Other than the amounts due by the Client to Algon under the terms of
                    this Agreement, Algon will collect no commissions, brokerage fees,
                    consulting fees or other payments related to the Asset from any party.




  IV.    Indemnification


                                                                                      the
              The Client shall indemnify Algon and the Additional Employees to
                                                                              officers or
          same extent as the most favorable indemnification it extends to its
                                                                                          or
          directors, whether under the Client's bylaws, its certificate of incorporation,
          otherwise, and no reduction or termination in any of the  benefits provided under
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          any such    indemnities shall   affect the   benefits   provided   to Algon   and the

          Additional Employees. The CRO shall be covered as an officer under the
          Client's existing director and officer liability insurance policies. The Client shall
          also maintain any such insurance coverage for the CRO for a period of not less
          than two years following the date of the termination of such officer's services
          hereunder. The attached indemnity provisions are incorporated herein and the
          termination of this agreement or the engagement shall not affect those
          provisions, which shall survive termination. The provisions of this section are in
          the nature of contractual obligations and no change in applicable law or the
          Client's charter, bylaws, or other organizational documents or policies shall
          affect the CRO's or Algon's rights hereunder.


 V.      Term

            a.   Term/Termination Provisions: This Agreement will be effective, subject to
                 approval by the Bankruptcy Court, upon execution of this letter, and may
                 be terminated with immediate effect by either party by written notice to the
                 other party; provided, however that, notwithstanding the foregoing, (i)
                 either party must provide at least ten days prior written notice of its
                 intention to terminate this Agreement (the "Termination Notice Period")
                 to the Client, CRO, Bankruptcy Court, and all other interested parties in
                 the Bankruptcy Cases, (ii) Algon shall continue to provide the services
                 hereunder during the Termination Notice Period, and (iii) the Client, CRO,
                 or other interested party in the Bankruptcy Cases, as the case may be,
                 may seek relief on an expedited basis during or after the Notice Period
                 (together, the procedures and terms contained in this entire sub
                 paragraph "V.a." are, collectively, the "Termination Provisions").

            b.   On termination of this Agreement, any fees and expenses due Algon shall
                 be remitted promptly, including those fee and expenses earned or
                 accrued before termination and invoiced after termination. Algon
                 acknowledges and agrees that Algon will have no lien rights against the
                 Asset.

            c.   The provisions of this Agreement that give the parties rights or obligations
                 beyond its termination shall survive and continue to bind the parties.



 VI.     Entire Agreement, Governing Law and Other Provisions


        This Agreement sets forth the entire understanding of the parties relating to the
subject matter hereof and supersedes and cancels any prior communications,
understandings and agreements. This Agreement cannot be modified or changed, nor
can any of its provisions be waived, except by written agreement executed by both
parties hereto, subject to the approval of the parties to the Stipulation, the US Trustee
and the Bankruptcy Court.
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       If any term, agreement, covenant or restriction contained in this Agreement is
held by the Bankruptcy Court to be invalid, void, unenforceable or against its regulatory
policy, the remainder of the terms, agreements, covenants and restrictions contained in
this Agreement shall remain in full force and effect and shall in no way be affected,
impaired, or invalidated.

        The laws of the State of Florida shall govern this Agreement. The parties hereto
submit to the jurisdiction of the United States Bankruptcy Court, Southern District of
Florida, for any and all actions and disputes arising under this Agreement or any action
to enforce the terms hereof.


       Subject to the reporting requirements contained in the Stipulation, Algon agrees
to treat all information provided by the Client or the Client's representatives as
confidential and to use such information only in connection with its services as outlined
in the Agreement, and Algon agrees that it will not use such information for any other
purpose.



       Algon does not warrant or predict results in this matter and its fees are         not
contingent upon any outcome arising out of the provision of the related services.       The
Engagement Personnel shall rely, without further independent verification, on            the
accuracy and completeness of all information furnished by or on behalf of the Client    and
the Client acknowledges that Algon and Engagement Personnel shall not be responsible
for any inaccuracies or omissions in such information. Notwithstanding the foregoing,

        The Client acknowledges that Algon and Engagement Personnel are not
performing or being requested to perform any auditing or financial reporting services nor
are they being engaged to provide a fairness opinion or solvency opinion on any
financial information presented or generated; any reports and opinions prepared by
Algon should not be utilized as such. The Client acknowledges that Algon and
Engagement Personnel may prepare projections and numerous factors can affect actual
results of the Client's operations which can vary materially from the projections.

         Algon's relationships with Parties in Interest have been disclosed on the attached
affidavit, which will be filed with the Bankruptcy Court. If Algon becomes aware of any
potential conflict of interest it will immediately inform the Client.




                                   Signature Page Follows
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VI.      Acceptance


        Please confirm your acceptance of the foregoing terms of the Agreement by
signing and returning an executed original of the Agreement to Algon.



Sincerely,                                 Accepted by:


Algon Group, LLC.                          IT'SUGAR, LLC, and affiliates
                                           by,



By:                                        By:
Troy T. Tayj^r, President

Date:                       l£>            Date:   ^9—2-/-Wc
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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov
In re:
                                                       Chapter 11

IT’SUGAR FL I LLC,                                     Case No. 20-20259-RAM
IT’SUGAR LLC,                                          Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                            Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                     Case No. 20-20264-RAM
                                                       (Joint Administration pending)
            Debtors.
_______________________________/

        DECLARATION OF TROY TAYLOR IN SUPPORT OF APPLICATION OF
     DEBTORS PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(b) TO (I) RETAIN ALGON
      CAPITAL, LLC D/B/A ALGON GROUP TO PROVIDE THE DEBTORS A CHIEF
    RESTRUCTURING OFFICER AND CERTAIN ADDITIONAL PERSONNEL AND (II)
     DESIGNATE TROY TAYLOR AS CHIEF RESTRUCTURING OFFICER FOR THE
     DEBTORS ON AN INTERIM BASIS NUNC PRO TUNC TO SEPTEMBER 22, 2020

         Troy Taylor submits this Declaration pursuant to 28 U.S.C. §1746, states as follows:1

         1.     I am the president of Algon Capital, LLC d/b/a Algon Group (“Algon”), a

restructuring and investment banking firm with completed assignments throughout the United

States and internationally.

         2.     I submit this declaration on behalf of Algon (the “Declaration”) in support of the

Application of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to (I) Retain Algon Capital,

LLC d/b/a Algon Group to Provide the Debtors a Chief Restructuring Officer and Certain

Additional Personnel and (II) Designate Troy Taylor as Chief Restructuring Officer for the

Debtors on an Interim Basis nunc pro tunc to September 22, 2020 (the “Application”) on the terms

and conditions set forth in the Application and the engagement letter, dated September 22, 2020,



1
 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
Application.



                                                 1
                                                                                        EXHIBIT B
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entered into between the Debtors and Algon and attached to the Application as Exhibit A (the

“Engagement Letter”), nunc pro tunc to the Petition Date. Except as otherwise noted, I have

personal knowledge of the matters set forth herein.2

       3.      On September 22, 2020, the Debtors engaged Algon to provide restructuring

management services, including my services as Chief Restructuring Officer as set forth in the

Engagement Letter. I believe that my and Algon’s experience and expertise will be valuable to the

Debtors’ efforts to reorganize.

                                      QUALIFICATIONS

       4.      Both Algon and myself personally have extensive experience in providing

restructuring services in and out of chapter 11 proceedings and have an excellent reputation for the

services they have rendered on behalf of debtors and creditors throughout the United States.

       5.      I am the Founder and President of Algon, and I have over 30 years of experience

that combines investment banking, restructuring (both in Chapter 11 and out-of-court), and senior

management. I have served as the Lead Financial Advisor, Chief Restructuring Officer or Chief

Executive Officer in a broad range of industries including real estate/hospitality, energy,

manufacturing, and distribution. I recently led the restructuring/recapitalization of Hyperion Bank

in my capacity as Vice Chairman and acted as the sole Independent Director of the Dress Barn,

Inc. in connection with the wind down of approximately 650 retail locations around the country. I

am also a founding investor and the Chairman of the Audit Committee for Big Rock Partners

Acquisition Corp., a publicly traded company.




2
  Certain of the disclosures herein relate to matters within the personal knowledge of other
professionals at Algon and are based on information provided by such professionals.



                                                 2
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       6.     I have completed various real estate restructurings/sales for high-profile clients

including The Related Group, Four Season Peninsula Papagayo Resort, One Bal Harbour Resort,

BlueGreen Vacations Corporation, The Altman Companies, and Cabi Downtown LLC.

       7.     Algon is a national, leading financial advisory firm. The following is a

representative list of Algon’s advisory engagements:

 The Dress Barn, Inc.                                 Served as sole independent director in
                                                       conjunction with wind-down of retail
                                                       operations
                                                      Wind-down included 650 stores and
                                                       related lease obligations
 Big Rock Partners, LLC                               Financial/Restructuring Advisor in senior
                                                       housing chapter 11
                                                      Advisor on $69 million acquisition of 500+
                                                       bed Tampa area CCRC
 Tradition/Port St. Lucie                             Advised institutional lender on 8,200-acre
                                                       master planned community
                                                      Conducted nationwide M&A process to
                                                       maximize value
                                                      Sold 3,028 acres to Mattamy Homes;
                                                       transferred 1,222 acres to the City
 BrightSource Energy, Inc.                            International solar thermal developer with
                                                       invested capital in excess of $800 million
                                                      Appointed Vice Chairman and Board
                                                       Member at the request of the senior lender
                                                      Debt restructuring/international M&A
                                                       process
 Peninsula Papagayo                                   Advised on a successful operational and
                                                       debt restructuring
                                                      Increased equity value by approximately
                                                       $100 million
                                                      Conducted worldwide M&A process
                                                       resulting in the successful sale of the resort
 The Related Group                                    $2+ billion restructuring of senior and
                                                       mezzanine debt across 21 separate loans
                                                      Completed consensual restructuring with
                                                       40+ domestic and foreign financial
                                                       institutions
                                                      Restructured Company is once again a
                                                       major successful real estate developer




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Tradition/BFC Corp.                             Diversified NYSE holding company
                                                 (NYSE: BBX)
                                                CRO for successful restructuring on over
                                                 $370 million of subsidiary level debt
One Bal Harbour                                 CRO in confirmed Chapter 11 of
                                                 condo/hotel project with $700+ million in
                                                 assets
                                                Managed sale process via section 363 sale
Hyperion Bank                                   As      Vice      Chairman,       led    a
                                                 management/financial restructuring
                                                Raised $18.3 million through Rights
                                                 Offering and Common Stock Offering
Cabi Downtown, LLC                              Financial advisor on $256 million Chapter
                                                 11 Plan for major condominium project

Altman Companies                           Completed global restructuring for leading
                                            developer and operator of apartments with
                                            over $475 million of debt
Agway Liquidating Trust                    Advised $400 million trust on the
                                            disposition of 24 environmentally-tainted
                                            properties
Synovus Financial Corporation (NYSE: SNV)  Advised in divestiture of 28% equity
                                            ownership in Aerosonics Corporation
                                            (AMEX: AIM)
BlueGreen Vacations Corporation (NYSE:  Review of strategic alternatives resulting in
BXG)                                        $29 million sale of Developer/Operator of
                                            timeshare resorts and residential parcels
Advanced Lighting Technologies, Inc.  Advised the Official Equity Committee in
(Nasdaq: ADLT)                              obtaining substantial recovery in $175
                                            million Chapter 11
Speizman Industries, Inc. (SPZN.OB)        Advised the Special Committee to the
                                            Board of Directors in connection with a
                                            chapter 11 petition
Mego Financial (Nasdaq: MEGO)              Advisor to Chapter 11/7 trustee for $185
                                            million publicly-traded timeshare company
                                           Developed strategy and negotiated
                                            substantial recovery for DIP lender
Village Homes                              Restructured approximately $140 million
                                            of senior debt
Diversified Family Investment Vehicle      Advised on two CMBS debt restructurings
                                            of retail and office assets
                                           Successfully negotiated agreements with
                                            CW Capital and C3




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 Investor group                                       Advised investor group in purchase of PCX
                                                       Corp., a division of NYSE-listed
                                                       Integrated Electrical Services, Inc.
 Southeastern Retirement Associates, LLC              Advised an ad hoc committee of
                                                       subordinated note holders in a $52.3
                                                       million restructuring
 NY-based hedge fund                                  Advised on valuation of $600 million of
                                                       subordinated debt in a publicly-traded
                                                       company
 Arlington Ridge, LLC                                 Advisor to Debtor in Chapter 11
                                                       proceedings Held CRO position

 PsychSolutions Inc.                                  Financial advisor in sale to Youth &
                                                       Family Centered Services, Inc., a portfolio
                                                       company of TA Associates

 Adama Holdings                                       Advised major hedge fund investors on
                                                       $500 million eastern European distressed
                                                       investment
 SolarReserve, Inc.                                   Advising senior lender on maximizing
                                                       recovery of $90 million loan
                                                      Overseeing liquidation of assets located in
                                                       US, South Africa, Chile and Australia
 SELAF Waterfall Holding Company                      Advised a $175 million private equity firm
                                                       on strategic alternatives for portfolio
                                                       investment
 Harmony Information Systems, Inc.                    Advised JMI Equity ($1.3+ billion) on the
                                                       recapitalization of a portfolio company


       8.      Further, as a result of prepetition work performed on behalf of the Debtors, Algon

and I personally have acquired knowledge of the Debtors and their business and we are familiar

with the Debtors’ financial affairs, operations and related matters.

       9.      Algon will endeavor to coordinate with the other professionals retained in these

cases to eliminate unnecessary duplication of work.

                        DISINTERESTEDNESS AND ELIGIBILITY

       10.     Prior to prepetition work performed in preparation for the filing, neither Algon nor

myself had any connection with the Debtors. However, we have connections with the Debtors’



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affiliates as follows:

                a)       I served as CRO for Core Communities Inc. with respect to an out-of-court

        debt restructuring. Core Communities was a subsidiary of Woodbridge Holdings

        Corporation, an affiliate of BBX Capital Corp., which in turn is an affiliate of the Debtors.

        The representation ceased in 2014. I do not believe that this relationship affects Algon’s or

        my disinterestedness in these cases.

                b)       Algon served as financial advisor to Bluegreen Vacation Corporation

        (“Bluegreen”) with respect to the sale of a division of Bluegreen. The representation

        ceased in 2014. Bluegreen is a public company traded on the New York Stock Exchange.

        BBX is majority shareholder of Bluegreen. Algon refers to the Form 10-Q filed by BBX

        for the quarter ending June 30, 2020 for the details of a proposed spinoff transaction,

        previously announced in June 2020 related by BBX and Bluegreen. I do not believe that

        this relationship affects Algon’s or my disinterestedness in these cases.

                c)       Algon served as financial advisor to the Altman Companies, an

        independently owned apartment developer for debt restructuring. The Altman Companies

        are currently 50% owned by BBX Capital Real Estate, an affiliate of the Debtors. The

        representation ceased more than 5 years prior to the Petition Date. I do not believe that this

        relationship affects Algon’s or my disinterestedness in these cases.

                d)       I am currently a passive investor, and have been a passive investor in

        numerous partnerships sponsored by Label & Co., a niche real estate developer/home

        builder. An affiliate of the Debtors, BBX Sky Cove LLC, a wholly owned subsidiary of

        BBX Capital Real Estate, is likewise a passive investor in many of the same projects. I do

        not believe that this relationship affects Algon’s or my disinterestedness in these cases.




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               e)      Over the last 10 years Mr. Taylor has discussed various business issues

       regarding real estate with senior BBX executives. These discussions included investment

       opportunities, restructuring of debt and/or leases and general real estate market conditions.

       These were all informal conversations and Mr. Taylor was not compensated.

       11.     In connection with the preparation of this Declaration, Algon’s professionals

conducted a review of their contacts with the Debtors, their affiliates, the Debtors’ principals, and

certain entities and individuals holding large claims against or interests in the Debtors that were

reasonably known to Algon, and other interested parties that were reasonably known to Algon

(collectively, the “Conflict Parties”).

       12.     Based on the results of Algon’s review, it was determined that, other than set forth

herein, Algon does not have relationships with any of the Conflict Parties.

       13.     In 2014, Mark Meland, Esq. and Meland Budwick, P.A. represented Mr. Taylor in

connection with an acquisition of a condominium unit in Miami Beach, Florida and ancillary real

estate related services. That representation has concluded and that matter was unrelated to the

Debtors.

       14.     In the past Meland Budwick, P.A. has represented parties in interest in matters in

which Algon Capital LLC and/or Troy Taylor have served as a financial advisor and/or chief

restructuring officer. None of those matters were related to the Debtors.

       15.     As part of its diverse practice, Algon appears in numerous cases, proceedings and

transactions that involve many different professionals, including attorneys, accountants and

restructuring consultants, who may represent claimants and parties-in-interest in these cases. Also,

Algon has performed in the past, and may perform in the future, consulting services for various

attorneys and law firms, and has been represented by several attorneys and law firms, some of




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whom may be involved in these proceedings. In addition, Algon has in the past, may currently and

will likely in the future be working with or against other professionals involved in these cases in

matters unrelated to the Debtors and these cases. Based on our current knowledge of the

professionals involved, and to the best of my knowledge, none of these relationships create

interests materially adverse to the Debtors herein in matters upon which Algon is to be employed,

and none are in connection with these cases.

       16.     Algon is not a “creditor” of the Debtors within the meaning of section 101(10) of

the Bankruptcy Code.

       17.     Based on the results of the relationship search conducted to date as described above,

Algon appears to have no connection with the Debtors, their creditors, other parties-in-interest (as

reasonably known to Algon) or their respective attorneys, except as disclosed in this Declaration.

Further, no one involved in these cases or in Algon’s business generally has any connection to the

United States Trustee for the Southern District of Florida (the “U.S. Trustee”) or any person

employed in the Office of the U.S. Trustee in this District.

       18.     Other than as set forth in this Declaration, Algon neither holds nor represents any

interest adverse to the Debtors and is a “disinterested person” within the scope and meaning of

section 101(14) of the Bankruptcy Code.

       19.     It is Algon’s policy and intent to update and expand its ongoing relationship search

for additional parties in interest in an expedient manner. If any new relevant facts or relationships

are discovered or arise, Algon will promptly file a supplemental disclosure in the same manner as

an estate professional employed pursuant to section 327 of the Bankruptcy Code would file under

Bankruptcy Rule 2014(a).




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                                         COMPENSATION

        20.     Subject to Court approval of the Application and in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, applicable U.S. Trustee guidelines, and

the Local Rules for the United States Bankruptcy Court for the Southern District of Florida, Algon

will seek from the Debtors payment for compensation on a monthly flat fee for myself as Chief

Restructuring Officer and on an hourly basis for all other Additional Personnel, and reimbursement

of actual and necessary expenses incurred by Algon, as described in the Application. Algon’s

customary hourly rates as charged in bankruptcy and non-bankruptcy matters of this type by the

professionals assigned to this engagement are outlined in the Application.

        21.     To the best of my knowledge, (i) no commitments have been made or received by

Algon with respect to compensation or payment in connection with these cases other than in

accordance with applicable provisions of the Bankruptcy Code and the Bankruptcy Rules, and (ii)

Algon has no agreement with any other entity to share with such entity any compensation received

by Algon in connection with these chapter 11 cases.

        22.     By reason of the foregoing, I believe Algon will be eligible for retention by the

Debtors pursuant to sections 105(a) and 363(b) of the Bankruptcy Code and the applicable

Bankruptcy Rules and Local Rules.

        23.     I am authorized to submit this Declaration on behalf of Algon, and if called upon

to testify, I would testify competently as to the facts set forth herein.

              [Remainder of page intentionally left blank. Next page is signature page.]




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       Pursuant to 28 U.S.C, 5 1146,I declare under penalty of perjury that the foregoing is true

and correct.

       This Declaration is executed by me on this 22"d day of Septemb er,2020.




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                                           EXHIBIT C

                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                    www.flsb.uscourts.gov
In re:
                                                    Chapter 11

IT’SUGAR FL I LLC,                                  Case No. 20-20259-RAM
IT’SUGAR LLC,                                       Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                         Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                  Case No. 20-20264-RAM
                                                    (Joint Administration pending)
              Debtors.
_______________________________/

INTERIM ORDER AUTHORIZING (I) THE RETENTION OF ALGON CAPITAL, LLC
 D/B/A ALGON GROUP TO PROVIDE THE DEBTORS A CHIEF RESTRUCTURING
      OFFICER AND (II) THE DESIGNATION OF TROY TAYLOR AS CHIEF
 RESTRUCTURING OFFICER FOR THE CHAPTER 11 DEBTORS-IN-POSSESSION
ON AN INTERIM BASIS NUNC PRO TUNC TO THE PETITION DATE AND SETTING
                            FINAL HEARING

         THIS MATTER came before the Court on ____, 2020 at ___ ___.m. upon the

Application of the Debtors Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to (I) Retain Algon

Capital, LLC d/b/a Algon Group to Provide the Debtors a Chief Restructuring Officer and

Certain Additional Peronnel and (II) Designate Troy Taylor as Chief Restructuring Officer for


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the Debtors, on an Interim Basis, Nunc Pro Tunc to September 22, 2020 [ECF No. ___] (the

“Application”), pursuant to § 363(b)) of Title 11 of the United States Code (the “Bankruptcy

Code”), Rule 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

the Local Rules for the United States Bankruptcy Court for the Southern District of Florida (the

“Local Rules”); the Court having reviewed the Application, the declaration of Troy Taylor in

support of the Application, (the “Taylor Declaration”); the Court being satisfied based upon the

representations made in the Application and the Taylor Declaration that Troy Taylor and Algon

Capital, LLC d/b/a Algon Group (“Algon”) do not hold any interest adverse to the Debtors or to

the estates, due and proper notice of the Application having been provided, and after due

deliberation and sufficient cause appearing therefore, it is accordingly

        ORDERED AND ADJUDGED as follows:

        1.     The Application is GRANTED on an interim basis, nunc pro tunc to the Petition

Date.

        2.     It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC

LLC (the “Debtors”) are authorized to retain Algon and designate Troy Taylor of Algon as Chief

Restructuring Officer of the Debtors in these Chapter 11 cases in accordance with the terms and

conditions set forth in the Application and this Interim Order.

        3.     Algon and Mr. Taylor shall not be required to submit fee applications. However,

fees paid to Algon shall be subject to final review and approval by this Court at the conclusion of

these Chapter 11 cases.

        4.     The Court shall conduct a final hearing (the “Final Hearing”) on the Application

on _____________, at ___________, prevailing Eastern Time, by telephone through

CourtSolutions. To participate through CourtSolutions, you must make a reservation in advance




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no later than 3:00 p.m., one business day before the date of the hearing. Reservations should be

arranged online at https://www.court-solutions.com/. If a party is unable to register online, a

reservation may also be made by telephone at (917) 746−7476.

       5.       Any party in interest objecting to the relief sought in the Application shall serve

and file written objections, which objections shall be served upon (a) the Debtors; (b) Debtor’s

Counsel; (c) the Office of the United States Trustee for the Southern District of Florida; (d) the

entities listed on the Master Service List, if any, filed pursuant to Local Bankruptcy Rule 2002-

1(K); and (e) counsel to any Official Committee of Unsecured Creditors Committee, to the

extent one is appointed prior to the Final Hearing (collectively, the “Notice Parties”) and shall be

filed with the Clerk of the United States Bankruptcy Court, Southern District of Florida, to allow

actual receipt by the foregoing no later than ___________________ at 4:30 p.m., prevailing

Eastern Time.

       6.       Notice will be provided to all parties by mailing a copy of this Interim Order

setting the Final Hearing upon all parties on the Master Service List pursuant to Local Rule

2002-1(H), Designation of Master Service List in Chapter 11 Cases.

       7.       In the event the Application is not granted on a final basis, Algon shall be

permitted to receive compensation for services rendered in the period between the Petition Date

and the Final Hearing, subject to final review and approval by this Court at the conclusion of

these Chapter 11 cases.

       8.       The requirements for emergency motions set forth in Local Rule 9075-1 and for

entry of the relief requested earlier than the period set forth in Bankruptcy Rule 6003 are

satisfied by the contents of the Application.




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       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Interim Order in accordance with the Application and the record.

       10.     Entry of this Interim Order is without prejudice to the rights of any party-in-

interest to interpose an objection to the Application, and any such objection will be considered

on a de novo basis at the Final Hearing.

       11.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Interim Order.

                                               ###
Submitted By:
Joshua W. Dobin, Esquire
Florida Bar No. 93696
jdobin@melandbudwick.com
MELAND BUDWICK, P.A.
Counsel for Debtors
3200 Southeast Financial Center
200 South Biscayne Boulevard
Miami, Florida 33131
Telephone:    (305) 358-6363
Telefax:      (305) 358-1221

Copies Furnished To:
Joshua W. Dobin, Esquire, is directed to serve copies of this Order on all parties in interest and
to file a Certificate of Service.




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